






Opinion issued April 17, 2008







	



In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00913-CV






TED L. ROBERTSON,  Appellant


V.


SANDY MELAMED, ET AL.,  Appellees






On Appeal from the 151st District Court 

Harris County, Texas

Trial Court Cause No. 2007-34091






MEMORANDUM OPINION	Appellant Ted L. Robertson has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2007); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2007) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant Ted L. Robertson did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Alcala.


